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                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE

 In re:                                                                ) Chapter 11
                                                                       )
                      1
 YUETING JIA,                                                          ) Case No.: 19-12220 (KBO)
                                                                       )
                                          Debtor.                      ) Docket No. 64
                                                                       )

                                             AFFIDAVIT OF SERVICE

STATE OF NEW YORK  )
                   ) ss.:
COUNTY OF NEW YORK )

WING CHAN, being duly sworn, deposes and says:

1. I am employed as a Noticing Coordinator by Epiq Corporate Restructuring, LLC, located at
   777 Third Avenue, New York, NY 10017. I am over the age of eighteen years and am not a
   party to the above-captioned action.

2. On November 1, 2019, I caused to be served the “Notice of Agenda of Matters Scheduled for
   Hearing on November 5, 2019 at 2:30 p.m. (Prevailing Eastern Time), Before the Honorable
   Karen B. Owens at the United States Bankruptcy Court for the District of Delaware, Located
   at 824 North Market Street, 6th Floor, Courtroom No. 2, Wilmington, Delaware 19801,”
   dated November 1, 2019, [Docket No. 64], by causing true and correct copies to be:

     a. enclosed securely in separate postage pre-paid envelopes and delivered via overnight
        mail to those parties listed on the annexed Exhibit A,

     b. delivered via facsimile to those parties listed on the annexed Exhibit B, and

     c. delivered via electronic mail to those parties listed on the annexed Exhibit C.




1 The last four digits of the Debtor’s federal tax identification number is 8972. The Debtor’s mailing address is 91 Marguerite
Drive, Rancho Palos Verdes, CA 90275.



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3. All envelopes utilized in the service of the foregoing contained the following legend:
   “LEGAL DOCUMENTS ENCLOSED. PLEASE DIRECT TO THE ATTENTION OF
   ADDRESSEE, PRESIDENT OR LEGAL DEPARTMENT.”

                                                                        /s/ Wing Chan
                                                                        Wing Chan
 Sworn to before me this
 4th day of November, 2019
 /s/ Regina Amporfro
 Notary Public, State of New York
 No. 01AM6064508
 Qualified in Bronx County
 Commission Expires November 24, 2021




                                                    -2-
T:\CLIENTS\YUETING\AFFIDAVITS\NTC OF 11-5 AGENDA HRG_AFF_11-1-19.DOCX
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                    EXHIBIT A
                                                    Yueting Jia
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                                                  Service List 11/06/19        Page 4 of 11
Claim Name                             Address Information
HUAXIN INTERNATIONAL TRUST CO., LTD.   ATTN: FENG ZIFENG 11TH FLOOR TOWER B CHINA HUADIAN BUILDING NO. 2 XUANWUMEN
                                       NEI STREET XICHENG DISTRICT BEIJING 100031 CHINA
SECURITIES AND EXCHANGE COMMISSION     NEW YORK REGIONAL OFFICE ANDREW CALAMARI, REGIONAL DIRECTOR 200 VESEY STREET,
                                       SUITE 400 NEW YORK NY 10281-1022
SECURITIES AND EXCHANGE COMMMISSION    100 F STREET, NE WASHINGTON DC 20549




                               Total Creditor count 3




Epiq Corporate Restructuring, LLC                                                                       Page 1 OF 1
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                   YUETING JIA - Case No: 19-12220 (KBO)
                      Overnight Mail Additional Party
CHINA MERCHANTS BANK CO., LTD.
SHANGHAI CHUANBEI BRANCH
ATTN: YOUJIA WANG
ROOM 1609, NO. 1717 NORTH SICHUAN ROAD
HONGKOU DISTRICT
SHANGHAI 200080
CHINA
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                    EXHIBIT B
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                       YUETING JIA - Case No: 19-12220 (KBO)
                            Facsimile Master Service List
NAME                             COUNSEL TO/CONTACT                     FAX NO.
                                 DIVISION OF CORPORATIONS, TAX
DELAWARE SECRETARY OF STATE      DIVISION                               302-739-5831
INTERNAL REVENUE SERVICE         CENTRALIZED INSOLVENCEY                855-235-6787
INTERNAL REVENUE SERVICE         CENTRALIZED INSOLVENCEY OPERATION      855-235-6787
                                 COUNSEL TO OFFICIAL COMMITTEE OF
                                 UNSECURED CREDITORS
                                 ATTN: JEFFREY D. PROL, ESQ., ANDREW
                                 D. BEHLMANN, ESQ., JEREMY D. MERKIN,
LOWENTEIN SANDLER LLP            ESQ.                                   973-597-2400
OFFICE OF THE UNITED STATES
TRUSTEE                          ATTN DAVID BUCHBINDER                  302-573-6497
OFFICE OF THE UNITED STATES
TRUSTEE                          ATTN: DAVID BUCHBINDER                 302-573-6497
                                 COUNSEL TO OFFICIAL COMMITTEE OF
                                 UNSECURED CREDITORS
                                 ATTN: CHRISTOPHER M. SAMISL L
POTTER ANDERSON & CORROON LLP    KATHERINE GOOD, AARON H. STULMAN       302-658-1192
U.S. ATTORNEY GENERAL            ATTN DAVID C WEISS                     302-573-6220
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                    YUETING JIA - Case No: 19-12220 (KBO)
                          Facsimile Additional Party
NAME                           COUNSEL TO/CONTACT                        FAX NO.
                               COUNSEL TO SHANGHAI LAN CAI ASSET
                               MANAGEMENT CO, LTD.
                               ATTN: DANIEL J. SAVAL, JOHN HAN, & DONG
KOBRE & KIM LLP                NI (DONNA) XU, ESQS.                      212-488-1220
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                    EXHIBIT C
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                      YUETING JIA - Case No: 19-12220 (KBO)
                        Electronic Mail Master Service List
124898362@qq.com
13162857516@163.com
13917839177@huyf@cjsc.com
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kgood@potteranderson.com
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qyx@hfzq.com.cn
renjiangc@twcgroup.com
rosner@teamrosner.com
shiqh@ydcmc.com
statetreasurer@state.de.us
wang_yi@cmbchina
wangjun@hongzhao.com
yanhao@msxt.com
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zhangyao335@pingan.com.cn
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                      YUETING JIA - Case No: 19-12220 (KBO)
                         Electronic Mail Additional Parties
daniel.saval@kobrekim.com
donna.xu@kobrekim.com
john.han@kobrekim.com
liu@teamrosner.com
